6:20-cv-00423-JFH Document 152-1 Filed in ED/OK on 11/17/21 Page 1 of 3




      Attachment: Email from
       Mr. Clayton Hughes
           6:20-cv-00423-JFH Document 152-1 Filed in ED/OK on 11/17/21 Page 2 of 3




From:                            Clayton Hughes <claytonhughes65@gmail.com>
Sent:                            Thursday, November 11, 2021 7:27 PM
To:                              Strippoli, Briena (ENRD); Hollingsworth, Mary (ENRD); Flanagan, Devon (ENRD)
Subject:                         [EXTERNAL] Case No. 6:20-cv-00423-JFH
Attachments:                     F0D58882-98F0-47D6-A992-4515B9505B43.jpeg



 The copy of the original notarized letter has been sent out via certified USMail with tracking number 7018-
3090-0001-3826-8268.

Regarding: USA vs Jeff & Lauren Lowe

Please address this matter and add to the record of this case.




                                                         1
6:20-cv-00423-JFH Document 152-1 Filed in ED/OK on 11/17/21 Page 3 of 3
